            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 1 of 33



 1   MICHAEL A. BERTA (No. 194650)
     ISAAC L. RAMSEY (No. 331142)
 2   JESSICA GILLOTTE (No. 333517)
     ARNOLD & PORTER KAYE SCHOLER LLP
 3   Three Embarcadero Center, 10th Floor
     San Francisco, CA 94111
 4   Telephone:      415.471.3100
 5   Facsimile:      415.471.3400
     michael.berta@arnoldporter.com
 6   isaac.ramsey@arnoldporter.com
     jessica.gillotte@arnoldporter.com
 7
     THOMAS T. CARMACK(No. 229324)
 8   ARNOLD & PORTER KAYE SCHOLER LLP
     3000 El Camino Real
 9   5 Palo Alto Square, Suite 500
     Palo Alto, CA 94306
10   Telephone:    650.319.4500
11   tom.carmack@arnoldporter.com

12   Attorneys for Plaintiff
     Crocs, Inc.
13

14
                                      UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16

17
     CROCS, INC.,                                   Case No. _______________
18
                         Plaintiff,                 PLAINTIFF CROCS, INC.’S COMPLAINT FOR:
19
             v.                                     1. FEDERAL TRADEMARK INFRINGEMENT
20                                                  2. FEDERAL FALSE DESIGNATION OF ORIGIN
     DAISO CALIFORNIA LLC, DAISO                       AND UNFAIR COMPETITION
21   HOLDING USA, INC., and DAISO                   3. FEDERAL TRADEMARK DILUTION
     INDUSTRIES CO., LTD.,
22                                                  4. UNFAIR COMPETITION, CAL. BUS. & PROF.
                         Defendants.                   CODE §§ 17200, ET SEQ.
23                                                  5. COMMON LAW TRADEMARK
                                                       INFRINGEMENT
24                                                  6. COMMON LAW UNFAIR COMPETITION
25
                                                    DEMAND FOR JURY TRIAL
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                                               COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 2 of 33



 1          Plaintiff Crocs, Inc. (“Plaintiff” or “Crocs”), by and through its undersigned counsel, brings

 2   this action against Defendants Daiso California LLC (“Daiso California”), Daiso Holding USA, Inc.

 3   (“Daiso Holding USA”), and Daiso Industries Co., Ltd. (“Daiso Industries”), (collectively “Daiso”,

 4   “Defendants”, or the “Daiso Defendants”), and alleges as follows:

 5                                     NATURE OF THE ACTION

 6          1.      Crocs is well-known for its iconic foam footwear. First introduced to the world in

 7   2002, the Crocs Classic Clog became an overnight sensation. Twenty years later, the design of the

 8   Crocs Classic Clog has stood the test of time and earned the brand a reputation for its authenticity,

 9   unique style, and fun attitude. Although Crocs now produces numerous varieties and styles of casual

10   footwear, the flagship Classic Clog shoe accounts for more than half of all sales revenues, and is

11   instantly recognizable to consumers across the globe.

12          2.      The popularity of the Crocs Classic Clog is confirmed by third-party recognition it

13   has received on a widespread basis for two decades. Most recently, the Classic Clog was named

14   2021’s “Shoe of the Year” by Footwear News, and was identified by clothing and apparel online

15   rankings as one of the most wanted fashion items in the world, including a #1 best-seller

16   achievement on Amazon.com.

17          3.      Crocs has devoted tremendous time and resources to developing, promoting, and

18   protecting its famous footwear designs. In particular, the design of the Crocs Classic Clog has been

19   widely disseminated in Crocs’s print and online marketing materials, and is reflected in Crocs’s

20   federally-registered 3D design trademarks, which have accumulated significant goodwill.

21          4.      The success of Crocs has been followed by numerous imitators, such as Daiso, who

22   produce and sell knock-off footwear bearing Crocs’s design marks. Rather than produce a casual

23   foam clog shoe or sandal bearing an original design, resulting from independent product

24   development, Daiso decided to reproduce Crocs’s classic design in order to freeride and trade on the

25   significant goodwill developed by Crocs through its innovative footwear.

26          5.      As alleged more fully below, Daiso has willfully engaged in trademark infringement

27   and counterfeiting, trademark dilution, and unfair competition by producing a shoe bearing a design

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                                                COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 3 of 33



 1   that is virtually identical to the design of Crocs’s three-dimensional design marks. This infringement

 2   and dilution scheme is intended to confuse, deceive, and mislead consumers into drawing

 3   associations between Crocs and Daiso and their respective footwear products so that Daiso can enjoy

 4   unfair gains and profits at the expense of Crocs.

 5          6.      In this action, Crocs seeks to enjoin Daiso’s unlawful conduct, and obtain all

 6   monetary relief due from the harm that Daiso has caused, and continues to cause, Crocs to suffer.

 7                                                PARTIES

 8          7.      Plaintiff Crocs, Inc. is a Delaware corporation with its principal place of business at

 9   13601 Via Varra in Broomfield, CO

10          8.      On information and belief, Defendant Daiso California is a California company with

11   its principal place of business at 3502 Breakwater Court, Hayward, CA 94545.

12          9.      On information and belief, Defendant Daiso Holding USA is a Washington company

13   with its principal place of business at 3502 Breakwater Court, Hayward, CA 94545.

14          10.     On information and belief, Defendant Daiso Industries is a Japanese kabushiki kaisha

15   stock company with its principal place of business at 1-4-14, Saijoyoshiyukihigashi,

16   Higashihiroshima, 739-0008 Japan.

17                                            JURISDICTION

18          11.     This is an action under Section 32(1) of the Lanham Act (15 U.S.C. § 1114(1));
19   Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B); Section 43(a)(1)(A) of the
20   Lanham Act, 15 U.S.C. § 1125(a)(1)(A); Section 43(c) of the Lanham Act (15 U.S.C. § 1125(c));

21   California Business and Professions Code § 17200; and California common law.

22          12.     This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 1121 and 28 U.S.C.

23   §§ 1331 and 1338.

24          13.     This Court has pendent jurisdiction of the California statutory and common law

25   claims pursuant to 28 U.S.C. § 1367 because the claims are so related to the other claims in the

26   action over which the Court has original jurisdiction that they form part of the same case or

27   controversy.

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                                                   2
                                                COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 4 of 33



 1           14.     This Court has personal jurisdiction over Defendant Daiso California because, on

 2   information and belief, Daiso California has deliberately engaged in significant and continuous

 3   business activities within this judicial district. In particular, Defendant Daiso California sells the

 4   Accused Products to residents of this district through an online store at www.daisojapan.com, as

 5   well as at brick-and-mortar retail stores located throughout the district, and on information and

 6   belief, resides in this district at its principal place of business at 3502 Breakwater Court, Hayward,

 7   CA 94545.

 8           15.     This Court has personal jurisdiction over Defendant Daiso Holding USA because, on

 9   information and belief, Daiso Holding USA has deliberately engaged in significant and continuous

10   business activities within this judicial district, including its involvement in the sale of the Accused

11   Products to residents of this district, and resides in this district at its principal place of business at

12   3502 Breakwater Court, Hayward, CA 94545.

13           16.     This Court has personal jurisdiction over Defendant Daiso Industries because, on

14   information and belief, Daiso Industries has conducted business in the judicial district, and is

15   involved in the sales of its Accused Products described below to residents of this district. In

16   particular, on information and belief, Daiso Industries is engaged with Defendants Daiso California

17   and Daiso Holding in the manufacture, sale for importation, importation, distribution, and/or sale or

18   procurement of its Accused Products. Alternatively, the Court has personal jurisdiction over Daiso

19   Industries pursuant to Fed. R. Civ. P. 4(k)(2).

20                                                   VENUE

21           17.     Venue is proper within this judicial district under 28 U.S.C. § 1391(b) because a

22   substantial part of the events or omissions giving rise to the claims set forth herein occurred in this

23   district through at least Defendants’ unauthorized use in commerce of the trademarks that Crocs is

24   asserting in this action and which are described further below. Venue is additionally proper within

25   this judicial district under 28 U.S.C. § 1391(b) because Defendants Daiso California and Daiso

26   Holding USA are residents of this district.

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                                                   COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 5 of 33



 1                                     DIVISIONAL ASSIGNMENT

 2          18.     Pursuant to Local Civil Rules 3-2(c) and 3-5(b), assignment of the case to the San

 3   Francisco Division or the Oakland Division is proper because a substantial part of the events or

 4   omissions giving rise to the claim have occurred within Alameda County, CA.

 5                                      FACTUAL ALLEGATIONS

 6   I.   THE CROCS 3D MARKS

 7          19.     Crocs owns valuable trademarks. The distinctive look of the Crocs Classic Clog is

 8   the embodiment of Crocs’s iconic design marks, which are federally registered as U.S. Trademark

 9   Registration No. 5,149,328 (the “’328 Registration”) (Exhibit 1) and U.S. Trademark Registration

10   No. 5,273,875 (the “’875 Registration”) (Exhibit 2), and they also include a common law trademark

11   on the vamp of the shoe (the “Vamp Mark”) (the ’328 Registration, the ’875 Registration, and the

12   Vamp Mark, collectively, the “3D Marks” or “Crocs 3D Marks”).1 The 3D Marks were first used

13   in commerce no later than by June 2003, and Crocs has consistently and continuously used its
14   valuable 3D Marks in commerce since that time.
15          20.     The Crocs 3D Marks consist of a three-dimensional configuration of the outside of
16   an upper for a shoe, featuring holes placed across the horizontal portion of the upper. The 3D Marks
17   have a textured strip along the vertical portion of the upper having openings. In addition, the design
18   of the ’875 Registration also depicts a textured strip on the heel of the shoe and a decorative band
19   along the length of the heel strap. The 3D Marks were first used in commerce no later than June
20   2003. Images of these marks are reproduced below. The Vamp Mark comprises the horizontal

21   portion of the upper, as shown in both figures.

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     1
       Crocs refers to the ’328 Registration and ’875 Registration as the “Registered Trademarks” to
28   distinguish them from the Vamp Mark where appropriate.

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                                                COMPLAINT
             Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 6 of 33



 1                        FIGURE 1: Representative Images of Crocs 3D Marks

 2        Registration No. 5,149,328                           Registration No. 5,273,875
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 9           21.     None of the Crocs 3D Marks were subject to a prior registration or unsuccessful
10   registration.
11           A.      The Crocs 3D Marks Are Famous
12           22.     As set forth below, the Crocs 3D Marks are widely recognized by the general
13   consuming public of the United States as a designation of origin of the footwear products that are
14   manufactured, sold, distributed, and promoted by Crocs. In particular, the 3D Marks are widely
15   publicized both by Crocs and third parties; products bearing the Crocs 3D Marks are sold extensively
16   throughout the United States; the Crocs 3D Marks are recognized by consumers across different
17   forms of media and in commercial settings; and the Registered Trademarks enjoy federal trademark
18   registration.
19                   1.     Crocs Distributes Shoes Bearing the Crocs 3D Marks Through Many
20                          Different Channels and Market Segments
             23.     Crocs distributes its iconic footwear through a vast network of domestic distribution
21
     channels, including major retailers and department stores such as Nordstrom, Foot Locker, Urban
22
     Outfitters, Macy’s, Journeys, Shoe Carnival, Designer Shoe Warehouse, Kohl’s, Finish Line, and
23
     Famous Footwear; sporting good and outdoor retailers such as REI, Dick’s Sporting Goods, and
24
     Academy Sports; and online retail outlets like Zappos.com and Shoes.com. Crocs also distributes
25
     its footwear through various and sundry specialty channels, including gift shops, collegiate
26
     bookstores, uniform suppliers, independent bicycle dealers, specialty food retailers, and health and
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                                                COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 7 of 33



 1   beauty stores. In addition, Crocs sells its footwear through its website, www.crocs.com, and in

 2   Crocs’s own retail stores all over the world. Crocs footwear is available for sale in over 90 countries.

 3          24.       Soon after Crocs introduced its iconic Classic Clog in late 2002, it became apparent

 4   that the shoe appealed to diverse groups of consumers seeking fun and friendly, comfortable

 5   footwear with a distinctive appearance. By 2005, Crocs’s footwear bearing the design of the 3D

 6   Marks had become recognized as a new standard-bearer in the fashion footwear, professional

 7   footwear, and casual footwear markets.

 8          25.       Figure 2, below, highlights how the Classic Clog incorporates the 3D Marks:

 9          FIGURE 2: Representative Images of Crocs 3D Marks with the Classic Clog

10     Registration No. 5,149,328         Registration No. 5,273,875            The Classic Clog
11

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17          26.       For two decades, Crocs has produced footwear bearing the Crocs 3D Marks,
18   including a lined version of its Classic Clog. Crocs’s footwear products bearing its famous and
19   valuable 3D Marks are marketed for men, women, and children of all ages. Crocs’s customers come
20   from all backgrounds, occupations, education and income levels, and geographic regions across the
21   United States.
22          27.       Through unconventional collaborations with different brands, celebrities, and artists,
23   the Classic Clog continues to reach diverse and specific psychographic market segments as the shoe
24   is regularly repackaged into new footwear models bearing the Crocs 3D Marks. The list of these
25   partnerships includes modern pop artists like Justin Bieber and Post Malone, Los Angeles high-
26   fashion apparel brands Pleasures and Chinatown Market, the luxury department store Barneys New
27   York, and fast-food chain KFC.
28

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                                                  COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 8 of 33



 1          28.    The “rise of comfy clothing” resulting from the COVID-19 pandemic has only

 2   increased the popularity of Crocs’s Classic Clog footwear bearing the Crocs 3D Marks. While Crocs

 3   footwear is frequently worn by working professionals in the restaurant and hospitality fields, the

 4   increase in stay-at-home workers has resulted in the brand reaching additional occupational

 5   segments, as many consumers have sought out comfortable, casual footwear for use during the

 6   remote workday.

 7          29.    Crocs has generated substantial revenue from the sales of its footwear products

 8   bearing the Crocs 3D Marks. Each year Crocs sells millions of pairs of shoes bearing the Crocs 3D

 9   Marks in the United States alone, corresponding to hundreds of millions of dollars in revenue.

10   Indeed, the Crocs Classic Clog is the Crocs brand’s flagship shoe and Crocs’s classic footwear

11   bearing the Crocs 3D Marks accounts for more than half of all sales revenues. The Crocs Classic

12   Clog is routinely listed as a most-wanted item or best-seller in footwear, including on Amazon.com

13   where it is frequently ranked #1 in Best Sellers in Clothing, Shoes & Jewelry, based on the

14   eCommerce platforms’ hourly sales data updates.

15                 2.      The Crocs 3D Marks Receive Substantial Publicity and the Marks Are
                           Widely Recognized by the Consuming Public
16
            30.    Since their debut, the Crocs Classic Clog shoes bearing the Crocs 3D Marks have
17
     received substantial publicity. By 2006, the Classic Clog had already morphed into “a global
18
     phenomenon” and became a popular source of public discussion thanks to the look of its distinctive
19
     design elements. The same year, the brand’s success was recognized with a marketing award for
20
     garnering more than 800 million editorial impressions.
21
            31.    The design of the iconic Crocs footwear, depicted in the Crocs 3D Marks, is itself
22
     responsible for generating much of the publicity that Crocs receives. Its unusual and distinctive
23
     appearance has made the classic Crocs shoe a source of extensive discussion. Significant attention
24
     to the look of Crocs’s footwear has resulted in consumers of Crocs footwear, as well as non-
25
     consumers, coming to recognize the design of the Crocs 3D Marks depicted in the Classic Clog as
26
     synonymous with the brand Crocs.
27
            32.    Public figures spotted wearing the Crocs Classic Clogs have helped keep the media
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                                               COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 9 of 33



 1   spotlight trained on shoes bearing the Crocs 3D Marks. President George W. Bush, for example,

 2   made international news when he was seen wearing a pair of Classic Clogs. The Classic Clogs have

 3   also been seen in public on the feet of television and movie stars like Jack Nicholson, Whoopi

 4   Goldberg, John Cena, Priyanka Chopra Jonas, Shia LaBeouf, Jennifer Garner, Zoey Deschanel, and

 5   Sacha Baron Cohen, and famous musicians like Ariana Grande, Post Malone, and Justin Bieber. A

 6   picture of the Oscars 2021’s Musical Director, Questlove, wearing a golden pair of the Crocs Classic

 7   Clogs on the red carpet became a focus of post-show media coverages. News sources referred to

 8   the golden Crocs as the “life and sole of Oscars 2021 red carpet,” or their “red carpet obsession.”

 9   And, important to the substantial publicity that the Crocs 3D Marks have received, the headlining

10   images selected to present this red carpet story to the public were often cropped and focused on the

11   iconic footwear, showcasing each design element of the 3D Marks.

12          33.     A representative image of online media coverage of Questlove’s Golden Crocs at the

13   2021 Oscars is depicted below:

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23          34.     The Crocs 3D Marks receive substantial publicity on social media, too. For example,

24   a viral video “Crocs Shaving Cream Challenge” has led to hundreds of thousands of online videos

25   consisting of “filling a Crocs shoe with shaving cream and then jamming your foot in.” Similarly,

26   a viral six-second video of a grandmother wearing the classic Crocs shoe has received tens of

27   millions of views. Moreover, an almost infinite number of memes featuring the Crocs Classic Clog

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                                                   8
                                                COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 10 of 33



 1   shoe have spread across different social media platforms. These memes are frequently encountered

 2   on digital devices at close distances where elements of the Crocs 3D Mark design are apparent.

 3          35.     The popularity of the Crocs Classic Clog continues to reach groundbreaking

 4   milestones. In 2021, for example, Footwear News named the clog “Shoe of the Year” at its 35th

 5   annual Achievement Awards. And, just in the year prior, the Classic Clog earned close to 25 billion

 6   observed media impressions.

 7                  3.      The Crocs 3D Marks Receive Substantial Publicity and the Marks Are
                            Widely Recognized by the Consuming Public
 8
            36.     Two of the Crocs 3D Marks were federally registered on February 28, 2017, as U.S.
 9
     Trademark Registration No. 5,149,328, and on August 29, 2017, as U.S. Trademark Registration
10
     No. 5,273,875. The Vamp Mark is a common law trademark.
11
            B.      The Crocs 3D Marks Are Not Functional
12
            37.     The Crocs 3D Marks feature ornamental design characteristics that are arbitrary and
13
     one-of-a-kind. These characteristics give the overall impression of a fun and distinctive clog-like
14
     shoe for which Crocs is well-known. The distinctively gentle slope of the upper also gives the shoe
15
     a unique, recognizable outline across the vamp of the shoe. These design features are inherently
16
     distinctive, and there is no utilitarian function or benefit that could be attributed to them either
17
     individually or in combination.
18
            38.     Given the virtually infinite number of different, non-infringing footwear styles in
19
     existence today, and which are available to other footwear companies, Crocs’s competitors do not
20
     have any actual competitive need to use the Crocs 3D Marks in commerce.
21
            39.     As explained in greater detail below, the Crocs 3D Marks are intentionally and
22
     frequently copied, not due to competitive need, but because of the significant goodwill that the Crocs
23
     3D Marks have accumulated over the past two decades during their use by Crocs.
24
            C.      Crocs Does Not Generally License the Crocs 3D Marks
25
            40.     Crocs has only licensed the Crocs 3D Marks on one occasion, and thus has an
26
     especially keen interest in protecting them from the kind of confusion and dilution that occurs from
27
     the unlicensed use of its marks by knockoffs.
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                                                   9
                                                COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 11 of 33



 1          41.     Specifically, in 2017, Crocs unveiled a licensing partnership with famed footwear

 2   designer Balenciaga. These shoes retailed for $850, and were described as one of the “hottest trends”

 3   of 2018 by Business Insider.

 4          42.     The Balenciaga/Crocs cross-over shoe was a smashing success: the shoes sold out

 5   during pre-release before they were even officially available for purchase. They were offered on

 6   eCommerce sites including Barneys New York.

 7          43.     The cross-over shoes incorporate the 3D Marks. Notably, the shoes feature round

 8   holes placed across the horizontal portion of the upper, and a textured strip along the vertical portion

 9   of the upper having trapezoidal openings. In addition to these features, the shoes also have a textured

10   strip on the heel of the shoe, and a decorative band along the length of the heel strap, as contemplated

11   by the ’875 Registration. A representative image of these shoes is shown below:

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21          44.     A close-up of the shoe reveals Balenciaga’s name on the button connecting the heel

22   strap to the base of the shoe, which replaces the usual Crocs logo found in the same spot:

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                                                 COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 12 of 33



 1
              45.   Other configurations of the collaboration clog included Balenciaga’s name as a shoe
 2
     charm:
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     II.   PLAINTIFF CROCS
15
              A.    The History of Crocs and its Classic Clog footwear
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              46.   Crocs was founded in 2002 by three college friends and innovators who shared a love
17
     for sailing. That year, Crocs co-founder Scott Seamans saw a shoe developed and manufactured by
18
     Canadian company Foam Creations, Inc. He came up with the idea to add a foam strap to the shoe,
19
     and the Classic Clog was born. He and his friends George Boedecker and Lyndon “Duke” Hanson
20
     embarked on a Caribbean sailing trip on a quest to perfect the shoe and, by November 2002, Crocs
21
     had sold its first thousand pairs of shoes. After expanding domestic distribution and production
22
     capacity, Crocs acquired Foam Creations in June 2004. Around that time, Crocs also added
23
     warehouses and shipping programs for speedy assembly and delivery.
24
              47.   Crocs launched its first national marketing campaign in 2005 after partnering with a
25
     local Colorado advertising firm. The campaign played on the distinctive design elements of the
26
     clog-like shoe that is embodied in the Crocs 3D Marks, and across the country, it spread the brand’s
27
     message that “Ugly Can Be Beautiful.”
28

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                                                COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 13 of 33



 1          48.     Continuing in an upward trajectory, Crocs began to lay the foundation for an Initial

 2   Public Offering (“IPO”). The company turned a net profit of $16.7 million for 2005, and was named

 3   “Brand of the Year” by Footwear News. Then, in 2006, Crocs launched the largest footwear IPO in

 4   history, raising approximately $208 million in its 9.9 million-share offering.

 5          49.     The 2008 economic downturn impacted Crocs as hard as it did any other company.

 6   It was not until 2011 that Crocs saw its first rebound, when it opened hundreds of new stores and

 7   reported sales of $1 billion worldwide for the first time in its history.

 8          50.     Building on this success, the company implemented a return to the basics that relied

 9   on the goodwill it had established around the Crocs 3D Marks over the past decade by reintroducing

10   the Classic Clog with attention-grabbing celebrity partnerships and a fresh ad campaign that

11   acknowledged the company’s detractors. The new “Come As You Are” campaign invited footwear

12   shoppers to be themselves, and to recognize the false choice between comfort and style by embracing

13   the brand’s distinctive clog-like foam shoes.

14          51.     During the past few years, Crocs has seen continued and steady sales growth as a

15   result of its revitalization. In January 2020, People Magazine reported that sales for the Crocs

16   Classic Clog had spiked 12 million percent on Amazon.com where the classic shoe embodying the

17   Crocs 3D Marks has become the eCommerce platform’s best-selling footwear item. The largest
18   global fashion search platform, Lyst, reported that, based on web searches, the Classic Clog was the
19   eighth most wanted item in the world. The New York Times declared that “Crocs Won 2020,” and
20   fashion bloggers predicted that “2021 will be the Year of the Croc.”

21          52.     The high volume of sales of footwear bearing the Crocs 3D Marks is responsible for

22   the edification of Crocs as an institution in the footwear industry, and demonstrates the goodwill

23   built into these marks that continue to carry the company to greater heights.

24          B.      The Crocs Classic Clog Remains the Flagship Shoe Among Other Models
                    Reflecting the Crocs 3D Marks
25
            53.     Today, Crocs footwear can be found in hundreds of forms and color patterns, ranging
26
     from khaki canvas loafers to tie-dyed sandals. Among this wide variety of options, the Classic Clog
27
     that features the Crocs 3D Marks remains the company’s flagship shoe.
28

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                                                  COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 14 of 33



 1          54.     Crocs has produced multiple lines of footwear that embody the Crocs 3D Marks,

 2   beginning with the classic “Beach” model when the company first launched. The “Beach” Crocs

 3   shoes were soon after followed by the “Cayman” line bearing the Crocs 3D Marks. As the brand’s

 4   forebearers, these shoes in particular have inspired countless imitations.

 5          55.     The Crocs 3D Marks are also reflected in numerous Crocs styles and models,

 6   including at least the following current footwear, each of which may include multiple models:

 7   Classic Clog (including Bae, Platform and All-Terrain models), the Classic Lined Clog, Baya Clog,

 8   Freesail Clog, and Crocs Littles Clog.

 9          C.      Crocs Vigorously Defends its Intellectual Property, Including its 3D Marks

10          56.     Crocs devotes significant time and resources to stopping infringement of its 3D

11   Marks. Its enforcement actions are diverse and multifaceted, ranging from full litigation to

12   educational outreach depending on what is warranted by the circumstances.

13          57.     The scale of this infringement requires constant attention. Each year, enforcement

14   officials around the world, including authorities in the United States, seize hundreds of thousands of

15   shoes that improperly bear the Crocs 3D Marks. For many of these products, the United States is

16   the intended final destination. In more recent years, the rise in consumer online shopping has

17   enabled the sale of infringing footwear on an unprecedented scale. For example, in 2018, Crocs’s

18   defense efforts resulted in the termination of over 70,000 online auctions for infringing products,

19   and the shutdown of over 1,500 websites, in the United States alone.

20          58.     Crocs works with various third-party agencies to monitor and eradicate the infringing

21   use of the 3D Marks. One such agency Crocs has used is MarkMonitor, which monitors websites

22   around the world for, inter alia, unauthorized or improper use of Crocs’s trademarks appearing in

23   their webpage content or similar uses of the trademarks in web articles to drive traffic to paid links.

24          59.     Crocs has also engaged in litigation to protect against the infringing use of the 3D

25   Marks, including an investigation under Section 337 of the Tariff Act pending at the United States

26   International Trade Commission.

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                                                 COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 15 of 33



 1   III.   THE DAISO DEFENDANTS

 2          A.      Daiso Background

 3          60.     On information and belief, Daiso is a Japan-based dollar store with more than 5,000

 4   brick-and-mortar retail locations worldwide and a significant eCommerce business that targets US-

 5   based consumers. According to a statement by Daiso’s President published on one of the company’s

 6   websites, Daiso has “established a store in the genre of 100 yen uniform instead of the product

 7   genre,” taking this business model around the world. The Daiso corporate motto is further described

 8   as “changing the lives of people around the world at one price.”

 9          61.     In addition to brick-and-mortar retail, Daiso sells its products, including the Accused

10   Products described below, directly through its websites, including www.daisojapan.com,

11   www.daisous.com, and www.daiso-sangyo.co.jp.

12          62.      On information and belief, each of the Daiso Defendants is involved in the

13   manufacture, importation, use, offer for sale, distribution, and sale of counterfeit footwear products

14   bearing the Crocs 3D Marks, including certain Accused Products described below.                  This

15   infringement scheme is willful, and organized to undercut market prices by capitalizing on, and

16   ultimately harming, the goodwill and reputation that Crocs enjoys with consumers.

17          B.      Daiso’s Accused Products

18          63.     The Daiso Defendants use generic terms such as “Casual Sandals for Men” and

19   “Lined Casual Clog” to market and sell the Daiso Accused Products. Representative images of

20   Daiso’s “Casual Sandals for Men” are depicted below.

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                                                COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 16 of 33



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11          64.     Representative images of Daiso’s “Lined Casual Clog” are depicted below.
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21          65.     On information and belief, the Daiso Defendants have produced and sold additional

22   shoe models bearing the Crocs 3D Marks under various names and style descriptions.

23          66.     The Daiso Accused Products are manufactured abroad and are imported into the

24   United States. Specifically, and as shown in the picture below, the shoes have a label stating “Made

25   in China” and/or are sold with an affixed hangtag also stating “Made in China.”

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                                                COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 17 of 33



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            C.     Daiso’s Unfair Acts, Infringement, and Dilution of the Crocs 3D Marks
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            67.    For the reasons set forth below, Daiso’s Accused Products infringe and are likely to
14
     dilute the Crocs 3D Marks.
15
                   1.      Crocs Owned Valid, Protectable and Famous Trademark Rights Before
16                         Daiso Promoted and Sold the Daiso Accused Products

17          68.    On information and belief, based on the extensive monitoring performed by Crocs
18   and on Crocs’s behalf as described above, Daiso began promoting and selling the Accused Products
19   after the Registered Trademarks had been registered and had become well-recognized and famous,
20   and after the Vamp Mark had been first used in commerce.
21          69.    The ’328 Registration and ’875 Registration relevant to Daiso’s violations are the
22   subject of duly issued United States Trademark Registrations.
23                 2.      Daiso’s Accused Products Are Likely to Cause Confusion with the
                           Crocs 3D Marks, and Have Already Caused Actual Confusion
24

25          70.    As shown herein, Daiso’s Accused Products bear designs that are likely to cause

26   confusion with the Crocs 3D Marks. In particular, the size, positioning, number, and shape of the

27   holes on the horizontal portion of the upper of the Accused Products are confusingly similar to the

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                                               COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 18 of 33



 1   design of the Crocs 3D Marks. The Accused Products have a textured strip along the vertical portion

 2   of the upper with trapezoidal openings, which also contributes to the likelihood of consumer

 3   confusion. Further, like the design shown in the ’875 Registration, the Accused Products have a

 4   textured strip on the heel of the shoe, and a decorative band along the length of the heel strap.

 5   Because the Accused Products imitate and copy each of the design elements of the Crocs 3D Marks,

 6   the Accused Products bear a design that is virtually identical in appearance to the design of the Crocs

 7   3D Marks, such that the designs are practically indistinguishable and likely to cause confusion for

 8   consumers.

 9          71.     Representative images of the Daiso Accused Products and the Crocs 3D Marks are

10   depicted below in Figure 3.

11          FIGURE 3: Representative Images of Crocs 3D Marks with the Classic Clog

12      Daiso’s “Casual Sandal”           Registration No. 5,149,328        Registration No. 5,273,875
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19    Daiso’s “Lined Casual Clog”         Registration No. 5,149,328         Registration No. 5,273,875

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                                                 COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 19 of 33



 1          72.     On information and belief, consumers have actually confused Daiso’s Accused

 2   Products with Crocs’s footwear products that bear the 3D Marks. For example, the Twitter user

 3   @dono_bog tweeted on August 20, 2021 “Got crocs at Daiso and they suck”:

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            73.     On December 19, 2020, Twitter user @lillikoiz tweeted that they were “absolutely
 9
     obsessed with the $3 crocs I got at daiso”:
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15          74.     On November 9, 2020, Twitter user @picklesaladlove tweeted “they have $3 crocs

16   at daiso go go go”:

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                                                   COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 20 of 33



 1          75.     On November 26, 2019, Twitter user @thighcrusher69 tweeted “I bought Crocs from

 2   daiso and I be lookin fresh in thigh highs and crocs”:

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 8          76.     On March 4, 2019, Twitter user @kupopoboy tweeted “Apparently daiso sells
 9   crocs???? I might just paint them”:
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            77.     These comments by social media users evidence the actual confusion that consumers
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     had about Daiso’s Accused Products even at the point of sale.
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                    3.     Daiso Intended to Copy the Crocs 3D Marks and to Infringe and Dilute
18                         the Crocs 3D Marks
19
            78.     Daiso’s intent to create associations with Crocs and to freeride on Crocs’s goodwill
20
     is evident from at least the close similarities between Daiso’s Accused Products on the one hand,
21
     and the famous Crocs 3D Marks on the other hand. On information and belief, the overwhelming
22
     similarities are due to Daiso’s intentional copying, and Defendants’ unauthorized use of the Crocs
23
     3D Marks is intentional, deliberate, knowing, and willful.
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                    4.     Daiso Promotes and Sells Accused Products in Competition with
25                         Crocs’s Promotion and Sales of Products Bearing the Crocs 3D Marks

26          79.     On information and belief, Daiso has promoted and sold its Accused Products at its

27   brick-and-mortar retail stores in California and across the United States and globe, and has sold

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                                                COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 21 of 33



 1   online through various eCommerce platforms, including its own websites www.daisojapan.com,

 2   www.daisous.com, and www.daiso-sangyo.co.jp.

 3          80.     On information and belief, Daiso’s Accused Products have been promoted and sold

 4   at prices ranging from approximately $3.00 to $3.50 per pair.

 5          81.     On information and belief, Daiso promotes and sells its Accused Products as casual

 6   footwear for men and women of all ages.

 7          82.     On information and belief, Daiso’s Accused Products are manufactured using low-

 8   quality processes, ingredients, and molds, and having a shoddy composition and feel, the Accused

 9   Products fail to match the quality of Crocs footwear in a manner that is remarkable and obvious

10   when the two are directly compared.

11                  5.      Relevant Consumers Are Susceptible to Confusion and Dilutive
                            Associations Caused by Daiso’s Accused Products
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            83.     Consumers of shoes like those at issue here are not likely to exercise great care in
13
     resolving likely confusion in their initial product interest, at the point of purchase, or in post-sale
14
     exposure. Even more sophisticated consumers are likely to experience cognitive dissonance
15
     regarding the source, affiliation, sponsorship, or association of Daiso’s Accused Products when
16
     confronted with the low prices.
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            84.     In the post-sale context, where actual or potential consumers of shoes may only see
18
     Daiso’s Accused Products on someone’s feet in passing, consumers are also likely to mistake the
19
     source, affiliation, or sponsorship of Daiso’s Accused Products with Crocs and/or the Crocs 3D
20
     Marks Trademarks, or to associate the Accused Products with Crocs and/or the Crocs 3D Marks.
21
                    6.      Daiso’s Accused Products Are Likely to Cause Confusion and Dilutive
22                          Associations with Crocs or the Crocs 3D Marks

23          85.     Due to the overwhelming similarities and virtually identical appearance between the

24   Daiso Accused Products and the design of the Crocs 3D Marks, and for the reasons set forth above,

25   there is (a) a strong likelihood of confusion between Daiso or its Accused Products, and Crocs or

26   the Crocs 3D Marks, and/or (b) a strong likelihood of dilution between the same.

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                                                 COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 22 of 33



 1                                       FIRST CAUSE OF ACTION

 2                    Trademark Infringement and Counterfeiting, 15 U.S.C. § 1114

 3                                             (Against All Defendants)

 4           86.     Crocs realleges Paragraphs 1 through 85 of this Complaint and incorporates them by

 5   reference as if fully set forth herein.

 6           87.     The Crocs 3D Marks are inherently distinctive, strong, valid, and protectable

 7   trademarks owned exclusively by Crocs. They are entitled to protection under the Lanham Act, and

 8   two of the design marks are registered on the principal register in the United States Patent and

 9   Trademark Office as Registered Trademarks Nos. 5,149,328 and 5,273,875.

10           88.     Daiso has knowingly used and continues to use in commerce the Crocs 3D Marks,

11   including reproductions, copies, or colorable imitations thereof, in connection with the development,

12   manufacture, distribution, offer for sale, advertisement, and sale of counterfeit versions of the Crocs

13   Classic Clog that bear the Crocs 3D Marks.

14           89.     Daiso’s virtually identical use of the Crocs 3D Marks is likely to confuse, mislead,

15   or deceive consumers and members of the general public as to the source, sponsorship, or affiliation

16   of Daiso and Crocs and/or Daiso’s footwear products and Crocs’s footwear products, and is likely

17   to mislead consumers and members of the general public to believe erroneously that Crocs has

18   licensed, authorized, approved, sponsored, or otherwise endorsed Daiso’s footwear bearing the

19   Crocs 3D Marks.

20           90.     Daiso’s actions, as set forth above and herein, including, without limitation, Daiso’s

21   unauthorized use of the Crocs 3D Marks, constitute trademark infringement and counterfeiting in

22   violation of 15 U.S.C. § 1114.

23           91.     Daiso’s infringement and counterfeiting of Crocs’s Registered Trademarks is willful,

24   deliberate, and intentional, and at all times has been done in bad-faith with the intent to confuse and

25   deceive consumers and carried out with full knowledge of Crocs’s exclusive rights to its iconic

26   design marks.

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                                                    COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 23 of 33



 1           92.      As a direct and proximate result of Daiso’s infringement and counterfeiting activities,

 2   including, without limitation, the continued sale of the Accused Products, Crocs has suffered, and

 3   will continue to suffer, irreparable harm and damage to its valuable marks, business, goodwill and

 4   reputation with not only its customers, who confuse the Accused Products with legitimate Crocs

 5   products, but also with the general public, who are confused as to the source of the Accused Products

 6   after they have been sold.

 7           93.      Crocs lacks an adequate remedy at law for this immediate and ongoing harm and will

 8   continue to be irreparably harmed unless Daiso is stopped.

 9           94.      Under 15 U.S.C. §§ 1114, 1116, 1117, and 1118, Crocs is entitled to permanent

10   injunctive relief against Daiso, including an order for the cessation of all infringing activities and

11   the destruction of all infringing goods or articles, and Crocs is also entitled to monetary relief,

12   including, without limitation, recovery of Daiso’s profits and actual damages, treble damages,

13   statutory damages, or other enhanced profits and damages, reasonable attorneys’ fees and costs, and

14   prejudgment interest.

15                                      SECOND CAUSE OF ACTION

16                 False Designation of Origin and Unfair Competition, 15 U.S.C. § 1125(a)
17                                             (Against All Defendants)
18           95.      Crocs realleges Paragraphs 1 through 94 of this Complaint and incorporates them by
19   reference as if fully set forth herein.
20           96.      The Crocs 3D Marks are entitled to protection under the Lanham Act, and two of the

21   design marks are registered on the principal register in the United States Patent and Trademark

22   Office as Registered Trademarks Nos. 5,149,328 and 5,273,875.

23           97.      For two decades, Crocs has extensively and continuously developed, promoted and

24   used the Crocs 3D Marks in commerce in the United States and worldwide, and began doing so

25   before Daiso began its unauthorized use. As a result, the Crocs 3D Marks are famous and well-

26   known indicators of the origin, source, and quality of Crocs footwear.

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                                                    COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 24 of 33



 1          98.     Daiso’s unauthorized use of the Crocs 3D Marks, as set forth above and alleged

 2   herein, constitutes a false designation of origin within the meaning of Section 43(a)(1)(A) of the

 3   Lanham Act, 15 U.S.C. § 1125(a)(1)(A), that is likely to cause confusion, mistake, or deception as

 4   to the affiliation, connection, source, origin, authorization, authorship, sponsorship, and/or approval

 5   of the Accused Products by creating the false and misleading impression that the Accused Products

 6   are manufactured by, authorized by, associated with, sponsored by, or affiliated in some manner

 7   with Crocs, when there is in fact no such connection between Crocs and Daiso.

 8          99.     The consuming public is likely to attribute to Crocs Daiso’s use of Crocs’s 3D Marks

 9   as a source of origin, authorization, and/or sponsorship for the products Daiso sells and, is further

10   likely to purchase products from Daiso in the erroneous belief that Daiso is authorized by, associated

11   with, sponsored by, or affiliated in some manner with Crocs, when there is no such connection

12   between Crocs and Daiso.

13          100.    Daiso’s actions have been conducted without Crocs’s consent, and they have been

14   conducted intentionally and willfully, with the express intent to cause confusion and mistake, to

15   deceive the consuming public, to freeride and trade upon the reputation of Crocs and quality of its

16   footwear, and to appropriate Crocs’s valuable trademark rights.

17          101.    As a direct and proximate result of Daiso’s misconduct, Crocs has suffered, and will

18   continue to suffer, irreparable harm to its valuable trademarks, business, goodwill and reputation

19   with both its customers and the general public, who are confused as to the source of the Accused

20   Products after they have been sold.

21          102.    Crocs has no adequate remedy at law for this immediate and continuing harm, and

22   will continue to be irreparably harmed absent permanent injunctive relief.

23          103.    Crocs is entitled to permanent injunctive relief against Daiso under 15 U.S.C.

24   § 1116(a), including an order for the cessation of all infringing activities and the destruction of all

25   infringing goods or articles pursuant to 15 U.S.C. § 1118.

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                                                 COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 25 of 33



 1                                       THIRD CAUSE OF ACTION

 2                                 Trademark Dilution, 15 U.S.C. § 1125(c)

 3                                          (Against All Defendants)

 4           104.    Crocs realleges Paragraphs 1 through 103 of this Complaint and incorporates them

 5   by reference as if fully set forth herein.

 6           105.    Crocs’s Registered Trademark Nos. 5,149,328 and 5,273,875 are highly distinctive,

 7   strong, valid and protectable trademarks that are “famous” as defined in 15 U.S.C. § 1125(c),

 8   including, without limitation, on account of the extensive duration and geographic reaching of

 9   advertising and publicity of the Crocs 3D Marks reflected in the Crocs Classic Clog footwear, the

10   high volume of sales of the Crocs Classic Clog offered under the Crocs 3D Marks, and widespread

11   actual recognition of the Crocs 3D Marks. Daiso’s use of these marks constitutes a use of these

12   famous trademarks in commerce.

13           106.    Crocs used Registered Trademark Nos. 5,149,328 and 5,273,875 in commerce—and

14   those Registered Trademarks became famous—before Daiso began its unauthorized uses of these

15   Registered Trademarks.

16           107.    Crocs’s use of the Registered Trademarks is substantially exclusive, and the

17   Registered Trademarks are widely recognized by the general consuming public of the United States

18   as designations of source of goods and services. As set forth above and alleged herein, Crocs’s

19   Registered Trademarks are widely recognized in the United States and around the world, and

20   consumers instantly recognize the connection between Crocs and these famous marks.

21           108.    Daiso’s Accused Products are virtually identical in appearance to the design of the

22   Crocs 3D Marks, and thus bear a high degree of similarity.

23           109.    Daiso’s unauthorized uses of the Crocs 3D Marks and, specifically, without

24   limitation, Daiso’s sales and offers for sale of the Accused Products, constitute dilution by blurring

25   and dilution by tarnishment of Crocs’s famous marks and, on that basis, violate Section 43(c) of the

26   Lanham Act, 15 U.S.C. § 1125(c).

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                                                  COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 26 of 33



 1          110.     On information and belief, Daiso’s dilution of the Crocs 3D Marks is willful,

 2   deliberate, and intentional, with full knowledge of Crocs’s rights in its iconic design marks, and has

 3   been done with the intent to create an association with Crocs’s those famous marks in order to

 4   willfully trade on the reputation, and/or harm the reputation, of Crocs’s famous marks.

 5          111.     Daiso’s misconduct, including, without limitation, its unauthorized use of the Crocs

 6   3D Marks in commerce, has had, and continues to have, the effect of creating an actual association

 7   in the minds of consumers between Daiso’s Accused Products and Crocs’s famous marks, and thus

 8   continues to dilute the distinctive quality and harm the reputation of Crocs’s Registered Trademark

 9   Nos. 5,149,328 and 5,273,875 and tarnish the goodwill consumers associate with the Registered

10   Trademarks.

11          112.     As a direct and proximate result of this misconduct, Crocs has suffered, and will

12   continue to suffer, irreparable harm to its goodwill and reputation with both its customers and the

13   general public who are confused as to the source of the Accused Products after they have been sold

14   and who are likely to draw negative associations with Crocs’s high-quality footwear based on their

15   experiences with Daiso’s low-quality footwear. For these reasons and others, Daiso’s dilutive

16   commercial activities lessen the value of the Registered Trademarks as identifiers of Crocs’s goods

17   and services.

18          113.     Crocs has no adequate remedy at law for this immediate and continuing harm, and

19   absent injunctive relief, will continue to suffer monetary loss and at least substantial and irreparable

20   harm to the goodwill and reputation for quality associated with the Crocs 3D Marks.

21          114.     Crocs is entitled to permanent injunctive relief against Daiso under 15 U.S.C.

22   § 1116(a), including an order for the cessation of all infringing activities and the destruction of all

23   infringing goods or articles pursuant to 15 U.S.C. § 1118. Crocs is further entitled to monetary relief

24   and all remedies available under 15 U.S.C. § 1117(a), including, without limitation, Crocs’s

25   reasonable attorneys’ fees and costs, and prejudgment interest.

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                                                 COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 27 of 33



 1                                     FOURTH CAUSE OF ACTION

 2                    Unfair Competition, Cal. Bus. & Prof. Code §§ 17200, Et. Seq.

 3                                          (Against All Defendants)

 4           115.    Crocs realleges Paragraphs 1 through 114 of this Complaint and incorporates them

 5   by reference as if fully set forth herein.

 6           116.    The Crocs 3D Marks acquired substantial secondary meaning and had become

 7   famous or otherwise well-recognized in the marketplace before Daiso commenced its unauthorized

 8   uses of the Crocs 3D Marks in connection with the Accused Products.

 9           117.    The Crocs 3D Marks are a single source identifier distinctly associated with Crocs.

10           118.    Daiso’s unauthorized use of the Crocs 3D Marks is likely to cause, and has caused,

11   confusion in the minds of consumers familiar with the Crocs 3D Marks. In particular, Daiso uses

12   the Crocs 3D Marks for casual footwear products, which is how Crocs uses the 3D Marks.

13   Accordingly, consumers of Crocs’s marks will be deceived or confused, or will otherwise be

14   mistaken, as to the source of the business in question when they encounter Daiso’s Accused

15   Products.

16           119.    Daiso has traded off of Crocs’s popularity and goodwill in producing, marketing,

17   selling, and profiting from the sale of its Accused Products. The Daiso Accused Products have

18   caused, and are likely to cause in the future, impairment of the distinctiveness of the Crocs 3D Marks

19   to associations by consumers with Daiso’s similar marks. Similarly, the reputation of Crocs’s marks

20   has been harmed, and is likely to be harmed in the future, through associations consumers draw with

21   Daiso’s similar marks, which occurs as a result of the promotion and sale of the Accused Products.

22   This confusion and dilution diminish, or threaten to diminish further, the capacity of the Crocs 3D

23   Marks to distinguish Crocs goods, constituting substantial present and likely future harm to Crocs,

24   including economic harm in the form of lost profits and diminishment of brand equity.

25           120.    Daiso’s use of the Crocs 3D Marks constitutes unfair competition by means of unfair,

26   unlawful, and/or fraudulent business acts or practices within the meaning of California’s Unfair

27   Competition Laws, Cal. Bus. & Prof. Code §§ 17200, et seq.

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                                                  COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 28 of 33



 1           121.    Daiso’s misconduct is unlawful and fraudulent for numerous reasons, as set forth

 2   above and alleged herein, including, without limitation, because it constitutes infringement,

 3   misappropriation, and conversion of the Crocs 3D Marks to gain an unfair competitive advantage in

 4   the marketplace. This violates California’s public policy against unjust enrichment at the expense

 5   of another, and the injury is not outweighed by any countervailing consumer or competitive benefits

 6   of Daiso’s acts or business practices.

 7           122.    As a direct and proximate result of Daiso’s misconduct, Crocs has suffered, and will

 8   continue to suffer, irreparable harm to its valuable marks, its goodwill, and its reputation with both

 9   its customers and the general public.

10           123.    Crocs has no adequate remedy at law for this immediate and continuing harm, and

11   absent injunctive relief, will continue to be irreparably harmed by Daiso’s unlawful, unfair, and/or

12   fraudulent acts or business practices.

13           124.    Crocs is entitled to permanent injunctive relief under Cal. Bus. & Prof. Code § 17203

14   to prevent Daiso from continuing to engage in such unfair business practices as those set forth above

15   and alleged herein. Crocs is further entitled to restitution, including the disgorgement of money

16   obtained by Daiso through its unfair business practices.

17                                       FIFTH CAUSE OF ACTION

18                                 Common Law Trademark Infringement
19                                          (Against All Defendants)
20           125.    Crocs realleges Paragraphs 1 through 124 of this Complaint and incorporates them

21   by reference as if fully set forth herein.

22           126.    Crocs owns common law trademark rights in the Crocs 3D Marks, including the

23   Vamp Mark, throughout the United States and in the State of California, and all such rights owned

24   by Crocs are superior to any rights that Daiso may claim to have in its use of the Crocs 3D Marks.

25           127.    Daiso’s actions and misconduct, including, without limitation, its unauthorized use

26   of the Crocs 3D Marks and its past and continued sales of the Accused Products, constitute

27   trademark infringement in violation of California common law. As set forth above and alleged

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                                                     27
                                                  COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 29 of 33



 1   herein, the Daiso Defendants have manufactured, marketed, promoted, distributed, offer for sale,

 2   and sold products using the Crocs 3D Marks. As a result, Daiso has created a substantial likelihood

 3   of confusion and caused actual confusion, mistake, and deception in consumers’ minds.

 4           128.    Daiso’s unauthorized use of the Crocs 3D Marks, as set forth above and alleged

 5   herein, falsely represents and holds out Daiso’s products as originating with, emanating form, or

 6   being authorized, sponsored, and/or approved by Crocs.

 7           129.    As a direct and proximate result of Daiso’s unauthorized use of the Crocs 3D Marks,

 8   Crocs has suffered and will continue to suffer irreparable harm to its valuable marks, goodwill, and

 9   reputation with its customers and the general public, and its ability to develop and promote its

10   products and have its products associated exclusively with Crocs will continue to be undermined.

11           130.    Daiso has enjoyed unjust profits and gains in the marketplace while causing Crocs to

12   suffer such substantial damages. Accordingly, Crocs is entitled to recovery any and all profits that

13   Daiso has made from its unauthorized use of the Crocs 3D Marks, including from its unauthorized

14   sales of the Accused Products.

15           131.    Due to the immediate and ongoing nature of the harm, for which Crocs has no

16   adequate remedy at law, Crocs is further entitled to injunctive relief to prevent continuing irreparable

17   harm caused by the unauthorized actions of Daiso as set forth above and alleged herein.

18                                       SIXTH CAUSE OF ACTION

19                                    Common Law Unfair Competition
20                                          (Against All Defendants)

21           132.    Crocs realleges Paragraphs 1 through 131 of this Complaint and incorporates them

22   by reference as if fully set forth herein.

23           133.    Daiso’s unauthorized use of the Crocs 3D Marks and past and continued sales of the

24   Accused Products constitute unfair competition in violation of California common law. As a result

25   of these unauthorized activities, Daiso has willfully and fraudulently passed off the Accused

26   Products as Crocs footwear products that bear the Crocs 3D Marks.

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                                                  COMPLAINT
           Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 30 of 33



 1          134.    Daiso’s unauthorized use of the Crocs 3D Marks was intended to deceive consumers,

 2   and had the predictable effect of deceiving consumers, about the source of the Accused Products.

 3          135.    As set forth above and alleged herein, the unauthorized use of the Crocs 3D Marks

 4   by Daiso has caused Crocs to suffer, and will continue to cause Crocs to suffer, irreparable harm to

 5   its valuable marks, goodwill, and reputation with both consumers and the general public.

 6          136.    Crocs is entitled to permanent injunctive relief enjoining Daiso from using the Crocs

 7   3D Marks in connection with the marketing or sale of any goods or services. Crocs is further entitled

 8   to monetary relief and all remedies available under California common law, including restitution of

 9   the unjust profits earned by Daiso from its unauthorized use of the Crocs 3D Marks, an award of

10   compensatory damages for harm suffered by Crocs as a direct and proximate result of Daiso’s

11   misconduct, and punitive damages. Daiso’s misconduct is aggravated by willfulness, wantonness,

12   malice and reckless disregard for the rights and welfare of Crocs, for which California allows the

13   imposition of exemplary and punitive damages in an amount sufficient to punish and make an

14   example of Daiso, and to deter it from similar misconduct in the future.

15                             PRAYER FOR JUDGMENT AND RELIEF

16          WHEREFORE, Crocs respectfully requests that the Court enter judgment against Daiso and
17   in favor of Crocs, and further requests as follows:
18          A.      That the Court enter judgment that:
19                      a. Daiso has violated Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1);
20                      b. Daiso has engaged in false designation of origin and unfair competition in

21                          violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C.

22                          § 1125(a)(1)(A);

23                      c. Daiso has engaged in trademark dilution in violation of Section 43(c) of the

24                          Lanham Act, 15 U.S.C. § 1125(c);

25                      d. Daiso has engaged in unlawful, unfair, fraudulent, and/or deceptive acts or

26                          business practices in violation of California’s Unfair Competition Laws, Cal.

27                          Bus. & Prof. Code §§ 17200, et seq.;

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                                                   29
                                                COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 31 of 33



 1                      e. Daiso has engaged in trademark infringement in violation of the common law

 2                          of the State of California;

 3                      f. Daiso’s has engaged in unfair competition in violation of the common law of

 4                          the State of California; and

 5                      g. Daiso’s infringing and dilutive acts and unfair competition has been

 6                          egregious and willful.

 7          B.      That the Court issue a permanent injunction restraining and enjoining Daiso and all

 8   of its agents, servants, officers, employees, successors, and assigns, and all other persons or entities

 9   in active concert or participation with Daiso from:

10                      a. Selling, offering for sale, marketing, advertising, promoting, importing,

11                          manufacturing, distributing, or purchasing the Accused Products or colorable

12                          imitations thereof;

13                      b. Using any of Crocs’s Trademarks and/or any other confusingly similar

14                          designation, alone or in combination with other words, phrases, symbols, or

15                          designs, as trademarks, trade names, domain name components or otherwise,

16                          to market, advertise, promote, or identify any of Daiso’s goods or services;

17                      c. Otherwise infringing or diluting the Crocs 3D Marks;

18                      d. Representing or taking any other action likely to cause confusion, mistake, or

19                          deception on the part of consumers as to the source or origin of defendants’

20                          products or services or as to any authorization, sponsorship, approval, or

21                          affiliation relationship between Daiso and Crocs;

22                      e. Unfairly competing with Crocs in any manner whatsoever or otherwise

23                          injuring its business reputation in the manner complained of herein; and

24                      f. Engaging in assignments or transfers, formation of new entities or

25                          associations or utilization of any other device for the purpose of

26                          circumventing or otherwise avoiding the prohibitions set forth in the above

27                          subparagraphs.

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                                                  COMPLAINT
     Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 32 of 33



 1      C. That the Court enter an order pursuant to 15 U.S.C. §§ 1116, 1118 requiring Daiso,

 2          its agents, servants, officers, employees, successors, and assigns, to destroy all

 3          Accused Products or colorable imitations thereof that are in Daiso’s possession,

 4          custody, or control.

 5      D. That the Court enter an order pursuant § 1116(a), directing Daiso to file with the

 6          Court and serve on Crocs within 30 days after entry and service of the injunction, a

 7          verified report, in writing and under oath, setting forth in detail the manner and form

 8          in which Daiso has complied with Paragraphs B and C, supra.

 9      E. That the Court enter an order pursuant to 15 U.S.C. § 1117 awarding all profits

10          received by Daiso from the sales and its revenues of any kind earned as a result of

11          sales of the Accused Products and colorable imitations thereof, and damages, to be

12          determined, that Crocs has suffered as a result of Daiso’s sales and marketing of the

13          Accused Products and colorable imitations thereof; and that such damages be

14          awarded in an amount sufficient to deter future acts of willful infringement and

15          dilution by Daiso.

16      F. That the Court enter an order enjoining Daiso from engaging in unlawful, unfair,

17          fraudulent, and/or deceptive acts or business practices by its unauthorized uses of the

18          Crocs 3D Marks in commerce in violation of California Unfair Competition Laws,

19          Cal. Bus. & Prof. Code §§ 17200, et seq.

20      G. That the Court enter an order awarding damages and costs to the fullest extent

21          provided for by California common law, including punitive damages.

22      H. That the Court enter an order awarding Crocs’s attorneys’ fees and costs.

23      I. That the Court enter an order awarding Crocs pre-judgment and post-judgment

24          interest.

25      J. That the Court enter such other relief as it deems proper and just.

26                               DEMAND FOR JURY TRIAL

27   Pursuant to Rule 38 of the Federal rules of Civil Procedure, Plaintiff demands a jury trial for

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                                         COMPLAINT
            Case 5:22-cv-03526-NC Document 1 Filed 06/15/22 Page 33 of 33



 1   all causes of action, claims, or other issues in this action that are triable as a matter of right to a jury.

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 3   DATED: June 15, 2022                             Respectfully submitted,

 4                                                    ARNOLD & PORTER KAYE SCHOLER LLP
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                                                      By: /s/ Michael A. Berta
 6                                                        Michael A. Berta (No. 194650)

 7                                                        ARNOLD & PORTER KAYE SCHOLER LLP
                                                          Three Embarcadero Center, 10th Floor
 8                                                        San Francisco, CA 94111
                                                          Telephone: 415.471.3100
 9                                                        Facsimile: 415.471.3400
                                                          Michael.Berta@arnoldporter.com
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                                                          Counsel for Plaintiff
11                                                        Crocs, Inc.
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